       Case 2:05-cr-00248-GEB Document 46 Filed 09/29/06 Page 1 of 2


 1   HAYES H. GABLE III
     Attorney at Law
 2   State Bar No. 60368
     428 J Street, Suite 350
 3   Sacramento, CA 95814
     (916) 446-3331
 4   Fax: (916) 447-2988
 5   Attorney for Defendant
     MICHELLE LYNN STUBBLEFIELD
 6
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                              Cr. S-05-0248 FCD
12
                            Plaintiff,                      STIPULATION AND ORDER RE:
13                                                          CONTINUANCE OF STATUS
                                                            CONFERENCE AND
14           vs.                                            EXCLUSION OF TIME UNDER
                                                            SPEEDY TRIAL ACT
15   MIGUEL ANGEL SANDOVAL, and
     MICHELLE LYNN STUBBLEFIELD,
16                                                          Hon. Frank C. Damrell, Jr.
17
18                                            STIPULATION
19          Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Jason Hitt, and defendant Michelle Lynn Stubblefield, by and through her counsel, Hayes
21   H. Gable III, agree and stipulate to vacate the existing hearing date the above-captioned action,
22   October 2, 2006, and to continue the matter to October 30, 2006, at 9:30 a.m., for status conference.
23          The reason for this continuance is that the government has recently provided a proposed plea
24   agreement which counsel needs to review with the defendant. However, counsel must first satisfy
25   himself that the defendant is competent to understand the terms of the agreement. Counsel is
26   awaiting a report from an expert in that regard. The parties further agree and stipulate that the
27   period for the filing of this stipulation until October 30, 2006, should be excluded in computing time
28   for commencement of trial under the Speedy Trial Act, based upon the interest of justice under 18
     U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and to allow
       Case 2:05-cr-00248-GEB Document 46 Filed 09/29/06 Page 2 of 2


 1   reasonable time necessary for effective presentation.
 2          It is further agreed and stipulated that the need of defense counsel to prepare exceeds the
 3   public’s interest in commencing trial within 70 days.
 4          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 5          IT IS SO STIPULATED
 6   DATE: September 29, 2006
 7                                                                   s/Hayes H. Gable, III
                                                                    HAYES H. GABLE, III
 8                                                                  Attorney for Defendant
 9
     DATE: September 29, 2006
10                                                                   s/Hayes H. Gable, III for
                                                                    JASON HITT
11                                                                  Asst. U.S. Attorney
12                                                 ORDER
13   For the reasons set forth in the accompanying stipulation and declaration of counsel filed under seal,
14   the status conference in the above-entitled action is continued to October 30, 2006, at 9:30 a.m. The
15   court finds excludable time in this matter from October 2, 2006 through October 30, 2006, under 18
16   U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and to allow
17   reasonable time necessary for effective presentation. For the reasons stipulated by the parties, the
18   Court finds that the interest of justice served by granting the requested continuance outweigh the best
19   interests of the public and the defendant in a speedy trial. 18 U.S.C. 3161(h)(8)(A), (h)(8)(B)(iv).
20          IT IS SO ORDERED.
21   DATE: September 29, 2006
22                                                  /s/ Frank C. Damrell Jr.
                                                    HON. FRANK C. DAMRELL,JR
23                                                  U.S. District Court Judge
24
25
26
27
28

                                                      -2-
